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                      xlCpmplai
                              nt
                                UNITED STATESD ISTRICT COURT
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                                            Southen)DistrictofFlorida
                 UnitzdStatesofAmerica                        )
                           N.                                 )
                   GABRIELALBALA                              )     CaseNo. 19-6417-SNOW
                                                              )
                                                              )
                                                              )
                       De
                        fendnnt.

                                            CRIM INAL COM PLAINT
          1,theccmplainantinthiscase,statethatthefollowingistruetothcbestofmyknowledgeandbelief.
 Onorabcutthedatets)of                 8/29/2019                   inthecountyof                 Broward
                                                                                                      -            in the
    Southern Districtof               Florlda              ,thedefendantts)violated:
            CodeSectîon                                               OffenseDedcrl
                                                                                  //ion
 Tltle 18,Unl
            ted StatesCode,            Possessloncfchlldpornography
 Sections2252(a)(4)(B)and(b)(2)




          Thîscriminalcomplabntisbastdonthesefacts:

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          V Continuedontheattachedsheet.
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                                                                                        ainan 'sîgnature'

                                                                       LauraA.Schwartzenbercer.SpecialAnentFBI
                                                                                                             - -

                                                                                       PrîntednameJnd/ff/e
 Swornto(eforemeandsignedinmypresence.
 oate:&       D )q     -     --
                                                                                         ludis 'ssignature   .
 Cityandstate:             FortLau#qrdale, Fllr/da   ...              Lurana S.Spow,Unlted States Maqistratq vludge
                                                                                  Printednameand/f/&
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                                            A FFID A VIT


   Your affiant is Laura A . Schwartzenberger, SpecialAgent(SA)wi
                                                                th the FederalBureau of
   lnvestigation(FBl),who,beingdulysworn,deposesandstatesasfollows:

                 1am an investigative or 1aw enforcem entofficer ofthe United Stateswithin the

  meaningofSection2510(7)ofTitle18,UnitedStatesCode Thatis,Iam an officeroftheUnited
                                                             .



  States,who is empowered by 1aw to conduct investigations of and m ake arrests for
                                                             ,                     , offenses
  enum erated in Title 18,United StatesCode, Sections2251 and 2252, etseq. 1have been an SA

  with the FB1since Decem ber2005. Currently,1am assigned to the FBI M iamiField Office,
                                                                    ,

  ViolentCrimesAgainstChildren squad, which targetsindividualsinvolved in theon-line sexual

  exploitation ofchildren.Ialso participatein othertypesofinvestigationsinvolvingcri
                                                                                        m esagainst
  children. These investigations have included the use of surveillance teclmiques; undercover

  activities'
            ,the interviewing ofsubjects and witnesses'
                                                      ,and the execution ofsearch, arrest,and
 seizure w arrants.


        2.      1am conducting an investigation involvingthe sexualexploitation ofchildren and

 related activities as described herein. 1have personally participated in the investigation and
                                                                                           ,

 because ofm ypersonalparticipation in and reportsm adeto me by m embersoftheparticipating

 law enforcementagencies,Jam familiarwith thefactsand circumstancesofthisinvestigation 1       .



 haveparticipated in investigationsinvolving pedophiles, preferentialchild m olesters and persons
                                                                                    ,

 who collect and/or distribute child pornography, along with the production, im portation, and

 distribution ofm aterialsrelating to the sexualexploitation ofchildren. 1havereceived training in

 the area ofchild pornography and child exploitation through the FBI. 1have assistedinm any child

pornography and child exploitation investigations, w hich have involved review ing exam ples of
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  child polmography in a11fonns of media, including com puter media,and have discussed and

  reviewed these m aterials w ith other1aw enforcem entofficers. A s an FBI agent,Ihave observed

  andreviewednumerousexamplesofchildpom ography(asdefinedin 18U.S.C.j2256).

         3.      Thisaffidavitissubm itted in supportofaCrim inalCom plaintchargingGABRIEL

  A LBALA ,hereinafter referred to as ALBA LA , w ith possession ofchild pom ography in violation

  ofTitle18,UnitedStatesCode,Sections2252(a)(4)(B)and(b)(2).

         4.      The inform ation provided by otherswolm law enforcem entofficers, otherpersonnel

  specially trained in the seizure and analysis of computers and electronic media, and on m y

  experience and training asa SpecialAgentoftheFBI. Sinoethisaffidavitisbeing submitted for

  the lim ited purpose of securing a crim inalcom plaint, 1have notincluded each and every fact

  known to me concerningthisinvestigation.

  A.     Background of Birm ingham Case


                 On August 13,2018,Tum blrl subm itted a cyber-tip reportto the N ationalCenter

 forM issing and Exploited Children (NCMEC).The reportidentifed a userwho uploaded a
 combinationoftifty(50)imagesandvideosontoTumblr'sservers,which depictedprepubescent
 andpubescentadolescentsinvariousstagesofundressandengagedin sexualacts. Tum blrreported

 the username as stopjealouszz and the Profile/public Universal Record Locator (UlkL) as
 stopjealouszz.tumblr.com




 lTumblris apublicblogging and publishing platform acquired by Yahoo in 2013, and owned by O ath,Inc.The
 Tum blrserviceallowsuserstopostm ultim ediatoapublicblogpageforotherusersandnon-registereduserstoview .
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           6.      O n Septem ber 10, 2018,Y ahoo,Inc., and O athz, subm itted a cyber-tip reportto

  N CM EC,which was filed as a supplem entto the previously filed CyberTiplaine Reportfrom

  Tumblr.Yahoo,lnc.and Oathreportedthatthe userforthe accountstopiealouszz@ vahoocom                     .


  lastsuccessfully loggedinon July20, 2018from Spectrum BusinesslnternetProtocol(1P)address

  71.45.249.170,located in oraround Birmingham , Alabam a.Yahoo,Inc.and Oath also reported

  thattheuserprovideddescriptionforTumblrblogstopjealouszztum blristdhm uon wickrsendmb6
                                                                        .



  30$-1'

                  On Septem ber 26,2018, a Special A gent of the FBI, acting in an undercover

 capacity(UC),contactedtheusernamedsendmb6ontheW ickr3chatapplication Theusernam ed        .



 sendmb6'spublicavatar,within theW ickrapp, depictstheim ageofan adultm alehaving sex with

 ayoungboy,whoappearstobeundertheageoftwelve(12).Sendmb6offeredtoselltheUC links
 to download videosofchild pornography foreither$30 or$40 depending on the link requested.

 Sendmb6 then provided severalscreenshotsofa M EGA4Cloud Drive, which contained multiple

 folders thatpurportedly contained child pom ography. Exam ples ofthe folder nam es contained

 w ithin the M EG A Cloud Drive A ccountare asfollow s:


                  a. Boy m ix 40$

                 b. Boy on boy 40$


 2Oath,Inc.,isa subsidial' y ofVerizon Communicationsthatservesasthe umbrella company ofitsdigitalcontent
 subdivisions,including AOL and Yahoo.
 3 W ickz isan instantm essaging app, which allows users to exchange end-to-end encrypted and content-expiring
 m essages,includingphotos,videos,andt5leattachm entsandplacecnd-to-endencryptedvideoconferencecalls. W ickr
 m essagesautolnatically deleteaftersix days.
 4M EGA isacloudstorageand5lehosting serviceofferedbyM egaLimited, aNew Zealand-based company.M EGA
 isknown forasecurity feature thatencryptsallfileslocally before they areuploaded to the service. Thisprevents
 anyone(includingemployeesofMegaLimited)from accessingtheenclyptedfileswithoutknowledgeofthepasskey
 used forencryption.
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                       Boybaby(40$)

           8.      In orderto complete the purchase oflinks, sendmb6 requested paym entby Cash
   App5orA m azon giftcard. The Am azon giftcard numberwould bem essaged through the W ickr

  chatapp.Through the W ickrchatapp, theUC then presented sendmb6 with an Amazon giftcard

  redemption codeworth $40.

                  On September 26,2018, sendmb6 provided the UC with a M EGA6 link for the

  foldertitled tsboy on boy 40$.''TheM EGA linkcontainedafolderwith 640videos 11.1gigabytes
                                                                                          ,

  ofdigitaldata.These videosdepicted young boys, m ostly underthe age of 12 in various stagesof
                                                                           ,

  undressand engaged in sexualactswith otherchildren and/oradults.


          10,     The UC conducted two more controlled purchases of child pornography with

  sendm b6.The second purchase resulted in accessto an onlineprivate chatgroup, whom openly

 shared child pom ography in the TELEGRAM ; app. The third controlled purchase resulted in

 accessto one of sendm b6's D ropbox'accounts, which resulted in access to hundreds of im ages

 and videos ofchild pornography.


         11.     An adm inistrative subpoena served on Amazon.com relating to the Am azon gih

 cardprovidedby theUC revealed thefollowing infonuation:



 5CashApp(fonnerlyknownasSquareCash)isamobilepaymentservicedevelopedby Square, Inc.,which allows
 userstotransfermoney to oneanotherusingamobilephoneapp.
 6M EGA isafilehostingserviceoperatedinN ew Zealand. Userscan sharefilesandhaveaccesstothem on any
 device,wherevertheyare.
 7Telegram isacloud-based instantm essagingand voiceoverIP serviceownedby Telegram M essengerLLP and
 headquartered in theUnited Kingdom . Userscan sendm essagesand exchangephotos, videos,stickers,audio,and
 filesofanytype.
 8Dropbox isaf5lehostingservice operatedby Dropbox, Inc.,and headquartered in San Francisco California.
                                                                                           ,
 Dropboxofferscloud storage,filesynchronizations, personalcloud,and clientsohware.Userscan sharetilesand
 have accessto them on any device, whereverthey are.
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                 N am e:        D avid Drake
                 Address:       1617 13thAvenue South, Apartm entN
                                Binningham ,A labam a 35205-5526
                 Phone:         (205)807-0069
                A n adm inistrative subpoena served on Square, Inc.regarding Cash App account

  informationassociatedwithtelephonenumber(205)807-0069.Square, lnc.revealedthefollowing
  accountinform ation:


                N am e:                D avid A .Drake
                Phone N um ber:        (205)807-0069
                DateofBirth:           M ay 18,1999
                Cashtag:               stopjealous
                A 1aw enforcem entdatabase check conducted by the University ofAlabnm a at

 Binningham PoliceDepartmentrevealedthattelephonenumber(205)807-0069isassociatedwith
 aUniversity ofAlabam aatBinningham student,David Aaron Drake.

        14.     ln October2018,afederalsearch warrantwasexecuted on the apartm entofDrake,

 w hich ultim ately resulted in the arrestofD rake.


                In M ay 2019, Drake pled guilty to a five-count federal indictm ent for the

 advertisem ent,sale,and possessionofchildpornography and offeredtoprofferon theinfonnation.

        16.     Drake admitted to using hisTumblrpage to directusersto W ickr,where Drake

 w ould com plete the sale ofchild pornography.D rakew ould share an im age ofchild pornography

 to his Tum blrblog and,in the note sed ion,w ould w rite,GtW ick.
                                                                 r sendm b6 fo< links.''Aceording

 to D rake, (ssendm b6'' stood for û:send m alfboy.'' U sers w ould contact Drake on W ickr, via

 usernam e sendm b6,and Drake w ould send a screenshot of his collection to the user to decide

 which folderthe userwanted to purehase. Drake sold foldersforan am ountbetween $10 to $50.
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  Theprice depended on the type and quality ofchild pornography contained within each folder.

  Drake would acceptpaym entand then send the usersa link to child pornography. Originally,

  Drake utilized Paypalto acceptpayments forthe sale ofchild pornography. Eventually,D rake

  switched to Venm o and Cash App forpaym ent. Drake utilized Am azon giftcardsforpaym ents

  from internationalcustomerswho could notuse Venmo orCash App. Allpaymentsto Drake on

  hisVenmo,Cash App,and Amazon were adirectresultofhissale ofehild pornography. Drake

  also advisedthatheinstructed usersto say thepaym entswerefortutoring, books,orothercollege-

  relatedexpensesbecauseDrakefeltthiswouldhidethetruenatureofthetransaction. Drakechose

  college-related term sbecausehewasa college student. Drakeonly distributed child pornography

 using these m ethods.


               Adm inistrativesubpoenasweresentto Paypal;Square, Inc.;and Am azonregarding

 Drake'saccounts.Severalusers who purchased from D rake w ere identitied utilizing recordsfrom

 Venmo,Cash App,and Am azon. Database checkswere then conducted to identify purchasers

 throughoutthe United States.


 B.     W estPalm Beach Case


               According to Venmo records foruser stopjealouszz@yahoo.com,Venmo user
 John-Smith-1339 completed the followingtransactionsto Drake.

                  O n Septem ber26,2018,at9:48 PM , Jolm-Smith-1339 completed atransaction

                  for$30 from IP address71.196.123.57,usingthebank accountending in 1683,
                  w ith the note ûi-l-utor.''
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                     On September 28, 2018, at 11:26 PM , Jo1m -Sm ith-1339 com pleted a

                     transaction for $60 from IP address 71.196.123 57, using the bank account
                                                                    .



                     ending in 1683,with thenote ks-
                                                   futorclass.''

                     On October 1,2018,at2:56 PM , John-Sm ith-1339 com pleted a transaction for

                    $70 from IP address 107.77.216.186,using M astercard ending in 3158, with

                    thenote dk-
                              fextbook.''

                    On October5,2018,at3:14 PM , John-Sm ith-1339completed atransaction for

                    $65 from IP address 107.77.216 48,using the balnk accountending in 1683,
                                                     .



                    w ith the note it-l-utoring.''


                    On October8,2018,at10:25PM , Jo1m -Sm ith-1339com pleted atransaction for

                    $80 form IP address 71.196.123.57, using the bank account ending in 1683,
                    w ith the note dt-l-utoring.''


         19.    An administrative subpoena sentto Paypalregarding Venm o user John-sm ith-

 1339,revealedthefollowing infonnation:

                N am e:         Jolm Sm ith
                Phone:          (954)940-0260
                Em ail'
                      .     supergabe@bellsouth.net
                Datejoined: September26,2018
               Platform :       Venm o foriphone
               Bank account:JpM organ Chase, accountnum ber 130361683
               Crediteard: M astercard num ber 5424181198013158

               A searchoflaw enforcementdatabasesfortheuseroftelephonenumber(954)940-
 0260 revealed the follow ing unconfirm ed inform ation:
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                N am e:        GabrielA LBA LA
                A ddress'
                        .      1816 N W 67thA venue, M argate,Florida33063

         21.    On July 30, 2019, an adm inistrative subpoena was served on Com cast for

  inform ation pertaining to the userofIP address 71. 196.123.57,on O ctober 8,2018,at 10:25 PM   .



  Comcastresponded thatno subscriber information was available asthey no longerretained the

  recordsfrom October2018.

         22.    On August 13,2019,another FB1 agent and your affiantattem pted to contact

  ALBALA athis aforem entioned 67thAvenue residence. A Boynton Beach Police Departm ent

  vehicle was parked in frontofthe residence.N o one answered the doorto the residence. A

  neighbor approached us and verified the police vehicle belongs to ALBALA , w ho lives at the

 residence with hisboyfriend. The neighboradvised thatALBALA wasout-of-state attending a

  funeraland provided ALBALA'Scellphone number:(954)940-0260. Youraffiantprovided
 ALBALA'Sneighborwith a businesscard and cellphonenum berso thatALBALA could m ake

 contact.


        23.    A shorttim e after your affiantattempted to contactALBALA athis residence,

 ALBALA called youraffiantfrom phonenumber(954)940-0260 and lefta message. In the
 message,ALBALA advised thathe wasin California fora funeral,and provided hiscellphone

 number:954-940-0260. Your affiant texted ALBALA at phone num ber 954-940-0260 and

 advised thatthem atterwasnoturgentandthatyouraffiantcould speak with ALBALA when he

 retulmed.A LBA LA advised that he w ould return on A ugust 21,2019. ALBA LA texted your

 aftianton A ugust21,2019,and agreed to m eeton approxim ately A ugust30, 2019.

        24.    On August 14,2019,an adm inistrative subpoena w as served on JpM organ Chase

 for inform ation pertaining to JpM organ Chase accountnum ber 130361683 associated with the
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   above-m entioned Venm o account. JpM organ Chase provided a response to the subpoena on

   August22,2019,advising thatthe accountisowned by GabrielALBALA , date ofbirth February

   14,1974.


                    On August 14, 2019, an adm inistrative subpoena was selwed on AT&T for

   infonuation pertaining to phone number (954) 940-0260. AT&T provided the following
   infonuation in responseto the subpoena:

                   N am e:                   GabrielALBALA
                   Address'
                          .                  1816 N W 67thA venue, M argate,Florida 33063
                   Em ail:                   supergabegs4@ gmail.com
                   Service startdate:        September27,2017

  TherecordsprovidedbyAT&T show thattheaccountbelongingtophonenumber(954)940-0260
  cotmected to emailaddress supergabe@bellsouth.net on severaloccasions in Septemberand
  October2018 and inJune2019.Therecordsalso showedthatphonenumber(954)940-0260is
  currentlyassignedtoanAppleiphonewith1ME19number353792082624562(withavarying 16th
  digit),which isthesameIM EInumberfortheperiod ofSeptember1,2018to August13,2019
  (thedatesrequestedintheadministrativesubpoenatoAT&T).
                   On August 22, 2019, an administrative subpoena w as served on M ega Ltd.

  referencing any aecounts registered with email addresses supergabe@bellsouth.net and/or
  supergabegs4@ gmail.com.M egaprovidedaresponsetothesubpoenaon August22,2019,with
  inform ation regarding an old accountand a currently active accountregistered to em ailaddress

  supergabe@ bellsouth.net. The noteson the old accountshow that,on April3,2019,theo1d

  9TheInternationalM obileEquipmentldentity, orIM EI,isauniquenum ericalidentifierforevery m obiledevice. This
  num berhelpsto differentiate each device fonn one another. A standard IM EInum ber isa 14 digitstring, with an
  additional15thcheck digitforverifying theentirestring. Thereisalso a 16 digitvariation thatincludesinformation
  on the device'ssoftware version,known asthe IM EISV .
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  accountw as suspended due to a bad tile detection after the user w as w arned. On the sam e day,

  tilesin the accountwere removedby M egabased on athird pal'ty link thathad ohild sexualabuse

  m aterial. The notes on the currently active accountshow that,on N ovem ber 6,20l8,files in the

  accountwere rem oved by M ega dueto confirm ed child sexualabuse m aterial. M ega provided

  logs of the IP addresses and devices used to access both accounts. An Apple iphone and a

  W indows10 computerwereused to accessboth accounts.OneoftheIP addressesused to access

  the o1d M ega accounton severaloccasionsin July and August2018 was 71.196.123.57. The IP

  address 71.196.123.57 w as also used to access the new M ega account on several occasions in

  SeptemberandNovember*2018and inJanuary 2019 (Note.
                                                   .ThisisthesameIP addressthatwtu
  used in the Venmopurchases on October8,2018,for which,pursuantto the administrative
  subpoena,Comcasthad advised thatno recordswcr: available). M ega alsoprovided thaton
  M arch 29,2019,A T& T IP address 162.227.233.98 wasused to access the active M ega account.

  On February 24,2019,IP addresses 2601:580:10d:891d:ad9 :995e:3329:ff6e and 73.85.205.66,

  w hich resolve to Com cast,w ere used to accessthe active M ega accountat 11:09 U TC and 10:56

  U TC,respectively.

        27.       On A ugust23,2019,an adm inistrative subpoena was served on A T& T regarding

  the user ofIP address 162.227.223.98 on M arch 29,2019. AT&T responded thatIP address

  162.227.223.98 w as used by custom er G abriel A LBA LA , at service address 1816 N W 67th

  A venue,M argate,Florida 33063,from N ovem ber 19,2018 thzough A ugust23,2019.

        28.       On August23,2019,an adm inistrative subpoena w as served on Com castregarding

 the userofIP addresses 2601:580:10d:891d:ad9 :995e:3329:ff6e and 73.85.205.66 on February

         20 19.      Com cast     responded     w ith    inform ation    that           address

 2601:580:10d:891d:adë :995e:3329:ff6ewasusedbycustom erGabrielALBALA,serviceaddress


                                                10
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  1805 N W 68thAvenue, M argate,Florida 33063 billing address 1816 N W 67thA venue M argate,
                                                                                  ,


  Florida33063,telephonenumber(954)940-0260.Thebilling addressisALBALA'S,however
  theserviceaddressisforahomelessthan 500feetaway inthe sam eneighborhood, and in the next

  cul-de-sac to the westofALBALA 'S. Law enforcementbelievesthe residence located at1805

  Nw 68thA venue, to betheresidenceofALBALA 'Smother. Property recordsindicate itislisted

  in both ALBALA 'Snnm e and whatisbelieved to behism other'snam e. Comcastwasunableto

  provide any infonuation regarding the user of IP address 73.85.205.66,due to that IP address

  belonging to arange ofIP addressesassignedto the Xfinity W iFiselwice.

                On August28,2019,aFederalsearch warrantsigned by United StatesM agistrate

  Judge Bruce D .Reinhartwasobtained forthe search ofthe residence located at1816 NW 67th

  Avenue,M argate,Florida 33063.

               On August29,2019,the search w asexecuted attheresidence in M argate, Florida.

  Presentduringthesearch oftheresidencewasALBALA'Sroom mate. During the execution ofthe

  search warrantattheM argate'sresidence,a Delldesktop computerwith serialnumber4-1-5V082

 w as seized from A LBA LA 'S bedroom .FB1 A gents interview ed A LBA LA 'S room m ate and the

 roommateconfirmedthatthe computerbelonged to ALBALA .

               An FBIAgentoonducted a forensic preview ofthe aforem entioned computerand

 observed thatithad a single W indowsusercreated accountnamed ''Gabe''. M ultiple files w ere

 located on the computerthatappeared to depictchild polmography including the following:

               a.      A file nam ed ''H OT VID -20141218-W A 0032.m p4''located in the
         folderpath hu sersyG abeyoneD rivehDocum entsthatdepicted aprepubescentfem ale
         placing the erectpenisofan adultm alein herm outh. Attheconclusion ofthevideo,
         theadultmaleejaculatesin themouth oftheprepubescentfemale.Thevideo is5
         m inutesarld 15 secondsin length.1recognize thisvideo and have encountered itin
         previous investigations. I know , based on m y training and experience that the
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             prepnbescentfem ale depictcd in the vidco is an identilsed victim and thatshe was
             undertheageof18whenthisvideo wascreated.
                   b.    A t51e nam ed ''bc 26,avi'' located in the folder path
             yuserssGabeïoneDrivehDocum ents that depicted an carly pubescent male who
             apptared to btapproximately 12yearsold.Durinythevideo,thtsuspecttdminor
             male rem oveshisclothing and masturbates,exposing hiserectpenis.The video is
             4 m inutes and 39 seconds in length.

                   c.    A file nam ed ''vids4s.wmv'' located in the folder path
             husershGabeïoneDriveïDocum ents that depicted two pre-pubescent or early
             pubescentmaleslayingin abednaked.Bothmalesexgosetheirnudegenitalsto
             the cameraand m asturbate during thevideo.The video ls 15 m inutesin length.

                                           CO NCLUSION

            32.    Based on theaforem entioned factualinform ation,youraffiantrespectfully subm its

     ihatthere isprobablecause to believe thatALBALA knowingly,willfully,and intentionally
     possessedone(1)ormorematterswhichcontainedvisualdepictionswhich wereproducedusing
     materialswhichhave betn shipped and transported in oraffecting interstateand foreign com merce,

     thatis,accllulartelephoneandcomputerviatheIntenlet,theproduction ofw hichvisualdepictions
     involved theuseofm inorsengagingin sexually explicitconductand which vlsualdepictionswere

     ofsuchconduct,inviolationofTitle18,UnitedStatesCode,Sections2252(a)(4)(B)and(b)(2).
                                                       '




                                                                      %

                                                           Laura A.ScAwartzen er er
                                                           SpecialAgent
                                                           FederalBureau ofInvestigation


                                                   '
            Sworntoandsubscribedbeforemethis O dayofAugust2019.


              M N A S.SNO W
            UNITED STATES M AGISTM TE JUDGE



                                                  12
